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                    EXHIBIT 34
               Case 2:10-md-02179-CJB-DPC   Document
                                     GLEN LERNER     11988-35
                                                 INJURY        Filed 12/16/13 Page 2 of 6
                                                        ATTORNEYS
                                                         General Ledger Transaction List
10/16/2013
11:36:32AM                All GL Journal transactions where Periods between 201212 and 201212 AND Multiple Accounts Selected               Page 1 of 1

Date      Reference Reference Payee/ Vendor                              Comment                                Debits          Credits       Balance
1307
01-99-1307-0000: Loan Rec NV - Due From                         Previous Balance:
Andry Lerner, LLC
12/10/2012 Andrey Lerr                                                                                            0.00     35,980.00
                                      Andrey Lerner return of capital
12/31/2012               Deposit      Andry Deposit                      Thonn, Casey Claim #100051-,             0.00         4,940.00
                                      Deposit
                                                                                                                $0.00 $40,920.00

                         Account Balance for 01-99-1307-0000 : Loan Rec NV - Due From Andry Lerner, LLC

                                                                                                             Debits                       Credits
                                                       Total Transactions Reported:                          $0.00                  $40,920.00


[End of Report]
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                                     GLEN LERNER      11988-35
                                                 INJURY        Filed 12/16/13 Page 3 of 6
                                                        ATTORNEYS
                                                       General Ledger Transaction List
10/16/2013
11:37:21AM               All GL Journal transactions where Periods between 201301 and 201301 AND Multiple Accounts Selected              Page 1 of 1

Date      Reference Reference Payee/ Vendor                             Comment                                Debits         Credits       Balance
1307
01-99-1307-0000: Loan Rec NV - Due From                       Previous Balance:
AndryLerner, LLC
1/08/2013 Pass throug                                                                                        4,940.00           0.00
                                     Pass through to Tiger Sutton
                                                                                                           $4,940.00           $0.00


                        Account Balance for 01-99-1307-0000 : Loan Rec NV - Due From Andry Lerner, LLC :

                                                                                                            Debits                      Credits

                                                     Total Transactions Reported:                      $4,940.00                        $0.00


[End of Report]
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                                      GLEN LERNER      11988-35
                                                  INJURY        Filed 12/16/13 Page 4 of 6
                                                         ATTORNEYS
                                                       General Ledger Transaction List
10/16/2013
11:38:29AM               All GL Journal transactions where Periods between 201303 and 201303 AND Multiple Accounts Selected               Page 1 of 1

Date         Reference Reference Payee/ Vendor                          Comment                                Debits         Credits        Balance
1900
01-99-1900-0000: Exchange Account                                Previous Balance:




3/27/2013               Deposit      Andry Referral Deposit                                                      0.00     16,665.21
                                     De•osit




3/29/2013 Thonn pmt I                                                                                      16,665.21            0.00
                                     Thonn pmt to Tiger Sutton




                                                      Account Balance for 01-99-1900-0000 : Exchange Account :

                                                                                                            Debits                      Credits
                                                     Total Transactions Reported:


[End of Report]
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                                       GLEN LERNER      11988-35
                                                   INJURY        Filed 12/16/13 Page 5 of 6
                                                          ATTORNEYS
                                                          General Ledger Transaction List
 10/16/2013
 11:39:54AM                All GL Journal transactions where Periods between 201305 and 201306 AND Multiple Accounts Selected             Page 1 of 2

Date          Reference Reference Payee/ Vendor                            Comment                               Debits         Credits      Balance
 1900
01-99-1900-0000: Exchange Account                               Previous Balance:




5/23/2013                Deposit       Exchange Deposit                                                           0.00      19,035.02
                                       De•osit




6/05/2013 Correct tran                                                                                       19,035.02           0.00
                                      Correct transfer to Crown - iart was thonn
                Case 2:10-md-02179-CJB-DPC   Document
                                      GLEN LERNER      11988-35
                                                  INJURY        Filed 12/16/13 Page 6 of 6
                                                         ATTORNEYS
                                                     General Ledger Transaction List
10/16/2013
11:39:55AM             All GL Journal transactions where Periods between 201305 and 201306 AND Multiple Accounts Selected              Page 2 of 2

Date         Reference Reference Pa ee/ Vendor                        Comment                                Debits         Credits       Balance




                                                    Account Balance for 01-99-1900-0000 : Exchange Account :

                                                                                                          Debits                      Credits
                                                   Total Transactions Reported:


[End of Report]
